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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

DONNA PARRIS,                                           3:10CV1128
              Plaintiff,
v.
CHARLES PAPPAS, ROBIN DELANEY,
ANNA LEXIS, LLC, and NORMANDIES
PARK, LLC,
           Defendants.

                                    CAPIAS ORDER

      Whereas, this Court issued an order requiring Charles Pappas to appear before

the Court on February 25,2016, for a show cause hearing on a pending motion for

contempt and sanctions; and

      Whereas, on February 25,2016, Mr. Pappas failed to appear despite having

notice of the hearing; and

       Whereas, the Court, having reviewed Mr. Pappas's unsigned letter dated

February 18,2016, and postmarked February 22,2016, finds that Mr. Pappas has

offered no reason for his failure to appear at the Show Cause hearing; and

       Whereas, the undersigned has recommended to Senior United States District

Judge Warren W. Eginton on the existing record that Mr. Pappas be held in contempt of

this Court's authority based on his failure to comply with this Court's order dated

January 19,2016;

       Accordingly the Court issues this Writ of Capias:

       It is hereby ORDERED that the United States Marshal shall seize and arrest Mr.

Pappas, for the purpose of procuring his presence at the Brien McMahon Federal

Building in Bridgeport, Connecticut on March 9, 2016 at 10:00 AM. The Court will

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provide a public defender so that Mr. Pappas will be prepared to show cause why Mr



Noon on March 9,2016, before   the Honorable Holly B. Fitzsimmons




                                             /s/Holly B. Fitzsimmons
                                             Holly B. Fitzsimmons
                                             United States Magistrate Judge




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